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     From:                             Chasen, Kristin (Hunter) <Kristin.Chasen@McKesson.com>
     Sent:                             Tuesday, June 13, 2017 6:56 PM
     To:                               Parker, John
     Cc:                               Weissman, Gabriel; Ellen Barry; Moyer, Lauren E
     Subject:                          RE: Fortune



     Thanks for the kind words, John, much appreciated. We really appreciate your help and the help of HDA in
     backgrounding tbe reporter for months, I know it was incredibly helpful as she got up to speed. I see a lot of our
     collective fingerprints on the story so that's good. I shudder to think what the story would have been had MCK
     had buried our heads in the sand.

     FYI that I spoke with Erika this morning and she plans to publish another piece on shady pharmacies in West
     Virginia tomorrow but she's not gotten final buy-in from her editors. She said it's less focused on MCK (but
     that MCK is the wholesaler for some of the pharmacies she'll highlight).

     Thanks to Gabe & Lauren, too, for working with Al Emch - Erika is still considering a Q&A based on her
     conversations with WV plaintiffs' attorneys and distributor attorneys ( assuming she means Al), but it sounds
     like it'll take a bit longer Let me know if you hear anything!

     And thanks to you all for the moral support over the past few months. It's been invaluable to have a lifeline to
     this group of smart people going through similar challenges!

     Kristin


     Kristin Hunter Chasen
     McKesson Corporation
     415.983.8974 desk
     415.377.3654 cell

     From: Parker, John [mailto:jparker@hda.org]
     Sent: Tuesday, June 13, 2017 7:55 AM
     To: Chasen, Kristin (Hunter)
     Cc: Weissman, Gabriel , Ellen Barry ; Moyer, Lauren E
     Subject: Re: Fortune

     One quick comment. T know this article will engender a lot of analysis and perspective, but T want to give
     Kristin a huge shout out for
     orchestrating a very comprehensive effort to educate Erika about the issue and McKesson. She pulled out all the
     stops. No question that the
     article benefited from that exposure.

     On Jun 13, 2017, at 6:35 AJVf, Chasen, Kristin (Hunter) <Kristin.Chasen@McKesson.com> wrote:

               Thanks for looking out, Gabe. . but my Type A personality wouldn't allow me to sleep past the
               3:30p publication time;)




                                                                                           Date: _....J/L-
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CONFIDENTIAL                                                                                                            HOA MDL 000014961
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               W ould love all of your thoughts on the article .. good/b ad/ugly.

               Kristin Hunter Chasen
               McKesson Corporation
               415.983.8974 desk
               415.377.3654 cell

               From: Weissman, Gabriel [mailto:GWeissman@amerisourecbcrgcn.com]
               Sent: Tuesday, June 13, 2017 6:32 AM
               To: Chasen, Kristin (Hunter) <Kristin.Chasen@~ 1cKesson.eom>; Parker, John
               <jparker@bda.org>; Ellen Barry <cllcn.barry@cardinalbcaltb.com>
               Cc: Moyer, Lauren E <LMoyer@amerisourcebergen.com>
               Subject: Fortune

               Kristen,

               Know it's early on your side so to the extent that it gives you a head start - forrunc article linked
               and embedded below. There is some potential op for a full Q&A with Al as a follow-up. We can
               chat live next time we get together on the phone.

               http://fortune.eom/20 l 7 /06/ l 3/fortune-500-mckesson-opioid-epidemic/

               Thanks,

               Gabe


                                 As America's Opioid Crisis Spirals,
                                 Giant Drug Distributor McKesson Is
                                 Feeling the Pain
                                 Erika Fry
                                 6:30 AM ET
                                 As America's opioid epidemic continues to
                                 spiral-to devastating effect in states like West
                                 Virginia-prosecutors and plaintiffs have taken
                                 aim at the nation's largest drug distributor. What
                                 is the company doing to stop the plague?
                                 One evening last fall, Martin West finally reached bis breaking point. The
                                 sheriff and treasurer of McDowell County, W Va., was watching the local news
                                 when a report about the deepening opioid crisis came on. What he learned that
                                 night incensed him.
                                 West, 62, is also a pastor in his community, and be bas seen a lot of suffering.
                                 He was born and raised in 1cDowell County, and over his lifetime he's borne
                                 witness to its inexorable decline. In his youth it had been a prosperous place.
                                 The southernmost county in West Virginia, it was at the heart of what was then
                                                                 2




CONFIDENTIAL                                                                                                    HOA MDL 000014962
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                        the state's booming coal country West himself worked in the mines until 1982,
                        when he was laid off. At 29 be was elected to be a county magistrate. And for
                        27 years, before he was elected sheriff, he presided over court cases-ones that
                        increasingly involved the stories oflives undone by drugs and poverty, and of
                        an o ioid e idemic takin root.




                        Train cars carry coal near Belle, south of Charleston, W Va. Photograph by
                        Matt Eich for Fortune

                  RELATED




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                  FORTUNE 500Judge Bars Former Amazon Exec From Working at Competitor
                  Startup
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                          Over the past decade and a half, McDowell bas lost people to prescription
                          opioid overdoses at a higher rate than any other county in America but one (its
                          neighbor, Wyoming County). And West knows plenty of good folks who have
                          been caught up in the epidemic; those who lost their jobs and turned to drugs,
                          and others who were injured and then got hooked on the pain mcds prescribed
                          to them. He can cite whole families who have died in the epidemic. As a pastor,
                          be has buried many of its victims. As sheriff, he's locked them up. And as
                          treasurer, he has learned he lacks the resources to make things much better. The
                          county doesn't have a single drug-rehabilitation center, nor does it have the
                          deputies needed to respond to all the drug-related complaints. (He had to lay off
                          five of his 15 men last year.) "People arc dying every week down here," says
                          West. "It's a shame what's happening."
                          But what got him boiling mad was the news report that night highlighted War,
                          an 800-person town in McDowell County. lt explained how War bad come to
                          be flooded with far more prescription pain medicines than its population could
                          ever reasonably or safely consume. The medication bad been shipped there,
                          West learned from the news, by a handful of extremely large, highly profitable
                          companies that distribute prescription drugs across the count1)
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                              .__                                                           _.McKesson ranks
                              no. 5 on the 2017 Fortune 500.
                          West now had a new target for his ftustration about the growing toll of opioids:
                          the so-called wholesalers. "In my thinking, they were no different than drug
                          dealers selling on the street," he tells Fortune. The sheriff wanted a criminal
                          prosecution, or failing that some compensation from those companies for the
                                                                           4




CONFIDENTIAL                                                                                                HOA MDL 000014964
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                        damage they'd done. In December, McDowell became the first county in the
                        state to file a lawsuit against the "big three" drug distributors: McKesson
                        (MCK, -0.99%), No. 5 on this year's Fortune 500, with $192 billion in
                        revenue; AmerisourceBergen {ABC, +0.28%), No. 11, with $147 billion; and
                        Cardinal Health (CAH, -0.16%), No. 15, with $122 billion. All of the
                        companies deny the charges and say that they comply with all relevant laws and
                        are working with authorities to prevent abuse in the system.
                        Sheriff West took aim at the wholesalers at a moment of growing focus on the
                        industry's role in prescription drug distribution and outrage about what it had
                        done in West Virginia. Damning details emerged late last year thanks to Eric
                        Eyre, a reporter at the Charleston Gazette-Mail In a Pulitzer Prize-winning
                        series, Eyre published a staggering set of data-some of which the industry
                        fiercely fought to keep under court seal-revealing just how many opioids the
                        industry had delivered to the state.
                        The numbers arc bard to fathom: Between 2007 and 2012, as the nation's
                        opioid epidemic spiraled out of control, wholesalers collectively shipped 780
                        million pain pills to West Virginia-or 433 doses for every man, woman, and
                        child there. The big three alone delivered more than half of those, according to
                        the Gazette-Mai! 's analysis: some 423 million pills.




                                                      5




CONFIDENTIAL                                                                                       HDA MDL 000014965
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                        Nicolas Rapp
                        Small cities were disproportionately flooded. The West Virginia town of
                        Gilbert (pop. 433), recently filed its own lawsuit against the distributors. In its
                        complaint, the municipality alleged that between 2007 and 2012 it was shipped
                        5,331,970 doses of hydrocodooe and oxycodone.
                        America is suffering through a full-blown opioid epidemic-and it's hardly
                        confined to West Virginia. It is now significantly more likely that an American
                        will die of a drug overdose than in a car crash. Tn 2015 opioid overdoses
                        claimed 9 I lives a day in the U.S. Many other users hover on the edge of

                                                        6




CONFIDENTIAL                                                                                           HDA MDL 000014966
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                        survival. On a typical day, more than a thousand people are treated in ERs
                        across the country for misusing prescription opioids. Since 1999 the amount of
                        opioids sold almost quadrupled. It's estimated that some 2.5 million struggle
                        with addiction to prescription opioids.
                        The people who have fallen under the sway of addiction have been blamed or
                        sympathized with over the years. The doctors who casually prescribe the mcds
                        have been criticized. The companies that make the opioids, such as Purdue
                        Pharma (the seller of OxyContin) have been lacerated. Now· the distributors are
                        being called to account.
                        That a lies erhaps most of all to the giant of the industry· McKesson.




                        The McDowell County Sheriff's office. Due to the efforts of Sheriff Martin
                        West, the county became the first to sue the top three pharma distributors,
                        including McKesson. Photograph by Matt Eich for Fortune

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CONFIDENTIAL                                                                                          HDA MDL 000014967
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                         In January, the Department of Justice announced that McKesson had settled, for
                         $150 million, civil claims that from 2008 to 2013 the company had failed to
                         warn the DEA about the large number of suspicious orders of highly addictive
                         paink illers it had shipped to certain parts of the country. The penalty is the
                         largest of its kind against a wholesaler, greatly exceeding a $44 million
                         settlement the Justice Department reached with Cardinal Health in December
                         on similar charges. And McKesson bad run afoul of the feds before. In 2008 the
                         distributor settled similar allegations for $13.25 million. According to the terms
                         of its recent deal with the Justice Department, McKesson will operate under a
                         heightened compliance agreement and the watchful eye of an independent
                         monitor for the next five years. (M cKesson and Cardinal Health both say they
                         follow relevant laws and that they resolved claims to move beyond
                         disagreements and work more closely with the government.)
                         On top of the suit by McDowell County, McKesson is now facing a lawsuit
                         brought in 2016 by West Virginia Attorney General Patrick Morrisey. That suit
                         alleges that the distributor failed to identify, report, and stop the shipment of
                         suspicious orders of opioids in the state from 2007 to the present in violation of
                         West Virginia's controlled substances act. McKesson is fighting the charges in
                         court.

                  RELATED




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                  Service

                         The other two members of the big three in January settled long-running
                         lawsuits with the State of West Virginia over alleged violations, though neither
                         admitted wrongdoing. Cardinal Health agreed to pay $20 million to the state
                         and issued this statement: "While the company denies the state's allegations,
                         Cardinal Health recognizes that the epidemic of prescription drug abuse is a
                         multifaceted problem driven by addiction and demand." And
                         AmerisourceBergen agreed to pay West Virginia$ I 6 million. Says Al Emch,
                         an attorney who represents AmerisourceBergen in West Virginia, "Our job is to
                         create a safe, dependable system lo take these drugs that we purchase from the
                         manufacturer and deliver them securely "
                         The settlements and pill-dumping allegations have put the previously low-
                         profile wholesaling industry in the hot seat just as public and political outrage
                         over the opioid epidemic reaches a fever pitch. But it's hardly the first time
                         questions over the role of distributors in the pharmaceutical supply chain have
                         been raised. Indeed, the industry has sparred with the DEA for much of the past
                         decade about the role it should play in monitoring the delivery of drugs.


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                        Today, as the crisis continues to spiral, McKesson and its peers feel
                        misunderstood and unfairly targeted. As they see it, they're unsung heroes in
                        the American health care system-the quiet, efficient, reliable machine that
                        gets essential medications where they need to go. They offer elaborate reasons
                        for why they're not to blame, which boil down to "Hey, we're just middlemen."




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CONFIDENTIAL                                                                                      HDA MDL 000014969
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CONFIDENTIAL                                                                                                                                 HDA MDL 000014970
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                        Charts show result of poll about the opioid crisis
                        The business of opioids undoubtedly presents a tricky balancing act. "It would
                        certainly be simpler if we didn't sell them anymore, but the reality is there's a
                        need," says John Hammergren, McKesson's longtime CEO, who stresses his
                        company wants to do the right thing. "The reason we distribute these products
                        is that there arc legitimate patients that need these medicines and who arc being
                        prescribed these medicines by well-informed, well-intended doctors who are
                        caring for these patients."
                        ln truth, the opioid crisis is a story of colossal. collective failure-an epidemic
                        that no one fully understood until it was too late. The medical establishment
                        didn't grasp-in some cases, didn't want to grasp--the destructive potential of
                        the drugs it was giving out to manage pain until they began to wreak havoc.
                        Pharmacists were not as curious as they should have been about doctors doling
                        out prescriptions or patients filling them. Despite warning signs, the DEA
                        consistently raised the national quotas for prescription opioids until 2013. Some
                        argue that when the agency did choke the supply, the epidemic simply got
                        worse, as addicts turned to heroin.
                        But it's also true that the drug distributors, including McKesson, played a role
                        in the proliferation of pain pills across America. To better understand bow that
                        came to be-and the impact of the company's behavior on some of the
                        country's hardest-hit communities-Fortune delved deeply into McKesson's
                        history with opioids. We interviewed drug enforcement officials, industry
                        executives, prosecutors, and average West Virginians battling the crisis on the
                        front lines.
                        One thing is clear lt certainly wasn't all McKesson's fault. But you can't have
                        a drug epidemic without a distributor.
                        There is a favorite motivational saying at McKesson. It's displayed prominently
                        in the company's headquarters and over the entrances to the floors of its
                        distribution centers ("DCs''): "It's not just a package, it's a patient."
                        The slogan serves to humanize the never-ending process of moving pills across
                        America. Seven days a week the company's 68,000 employees work to
                        efficiently distribute millions of essential medications. Those drugs run the
                        gamut from temperature-sensitive chemotherapy agents to aspirin.
                        Most of the action actually happens at night, when the company's 28 DCs
                        really come alive. During those hours, the floor looks like a miniature
                        amusement park, with red and blue tote bins zipping along an elaborate,
                        multilevel conveyor track. Workers report at 7 p.m. to begin fulfilling the day's
                        orders, picking medications and depositing them into the corresponding tote.
                        The process is optimized for efficiency· McKesson bas planned and timed
                        every human motion required in the picking process.
                        There are some drugs only certain people can pick. Those include controlled
                        substances, which are locked, monitored, and stored in DEA-regulated spaces.
                        The most addictive drugs, like prescription opioids, are held in a so-called vault
                        and packaged in specially sealed plastic bags by background-checked workers
                        under the gaze of several cameras.




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                        One of McKesson's 28 pharmaceutical distribution centers. Prescription
                        opioids are stored in vaults and under video cameras, packaged by workers who
                        have undergone background checks. Photo: Courtesy of McKesson
                        Most ofMcKcsson's DCs serve thousands of pharmacies. The company's
                        unmarked delivery trucks begin rolling out at midnight to ensure the
                        medications make it to their destination by morning. The company bas a
                        99.996% accurate fill rate, meaning its customers almost always get exactly
                        what they order.
                        McKesson is in many ways a massive corporation biding in plain sight. The
                        company is headquartered in a tall gray office tower in downtown San
                        Francisco. It's called McKesson Plaza, but chances are many of the city's
                        growth-obsessed tech bros don't even know the nearly $200 billion company is
                        there. (Periodically there are lively protests at the building, but they're typically
                        aimed at Sen. Dianne Feinstein, a fellow tenant.)
                                                        12




CONFIDENTIAL                                                                                            HDA MDL 000014972
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                        Its low profile suits the company just fine, but it does mask the corporation's
                        long and rather extraordinary history
                        McKesson was founded 184 years ago in New York as a small Manhattan shop
                        supplying drugs to ships docked in the harbor A couple of decades later, its
                        sales territory ranged across 17 states, which McKesson served via covered
                        wagon. The company soon started making drugs, tonics, and tinctures, and it
                        became better known as a manufacturer. For a time, during Prohibition, it was
                        owned by a bootlegger Later it distributed everything from alcohol to pasta to
                        WD-40 before turning its focus exclusively on health care.
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                           .__                                                         Photo: Courtesy
                           of McKesson
                        After an accounting scandal in the late 1990s, Hammergren, a then 40-year-old
                        of modest upbringing from small-town Minnesota, was named co-CEO. He
                        took sole possession of the job in 2001 And under his leadership the company
                        has been one of the biggest beneficiaries of the vastly expanding health care
                        economy. During his tenure, McKesson has grown from a $30 billion business,
                        ranking No. 38 on the Fortune 500, to a nearly $200 billion operation. He has
                        done so in part by insinuating McKesson, once just a supply-chain functionary,
                        more deeply into the business of its customers. McKesson now manages cancer
                        clinics, consults for hospital pharmacies, and makes technology used in
                        managing pharmacies.
                        Hammergren has been rewarded handsomely for this success-some might say
                        obscenely. He has consistently been one of America's highest-paid executives.


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                        Over the past 10 years, according to company filings, Hammergren bas taken
                        home $639 million in total compensation.
                        The skyrocketing price of pharmaceuticals has lifted the fortunes of the
                        wholesalers in recent years. But the distribution business is incredibly
                        competitive. And that's particularly true when it comes to winning the business
                        of independent pharmacies. These arc the mom-and-pop stores off which the
                        industry tends to make the highest margins-and which have featured
                        prominently in the narrative of West Virginia's opioid epidemic.
                        Raj Masib is doing what be docs every Thursday morning: talking opioids on
                        the radio. It's just after 9:30 a.m., and he's in the studio at WELD 960, an AM
                        talk radio station in a barely there town called Fisher. It's about a 20-minute
                        drive from Masih's home in Petersburg, another speck on the map in the
                        Potomac Highlands region of West Virginia. This rural, eight-county area in the
                        mountains of the state's eastern panhandle is the sort of place where everyone
                        knows your name-especially if you're Raj Masih.
                        These days, as the director of the Potomac Highlands Guild's anti-stigma
                        program, Masib (pronounced "Ma-SEE") clocks a lot of miles, leading
                        trainings and speaking at town halls about addiction. He recently opened the
                        area's first substance abuse clinic in Petersburg, where he runs dozens of
                        meetings per month. He periodically briefs state politicians on bis work, and
                        this year be got a federal grant to study prescription drug monitoring programs.
                        But before all that, Masih, 53, was the local doctor who got hooked 011 pain
                        pills and, in 2010, went to prison for prescribing too many opioids. His case led
                        to others, including the federal investigation of the Petersburg, \X.' Va.,
                        pharmacy that filled his many prescriptions-and ultimately of the distributor
                        that supplied the pharmacy: McKesson.




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                        Nicolas Rapp
                        Today's subject is naloxone. Also known by the brand name Narcan, it is a
                        medication used as an antidote for opioid overdoses. An analysis in February
                        by the West Virginia Health Statistics Center found that at least 818 people bad
                        died of drug overdoses in 2016 in the slate. That was 13% more than in 2015,
                        when West Virginia's overdose death rate led the nation, with 41. 5 cases per
                        100,000 people, according to the Centers for Disease Control and Prevention.
                        (The next highest rate was in New Hampshire, with 34.3, followed by
                        Kentucky with 29.3.) In response to the crisis, last year the West Virginia
                        legislature mandated that all pharmacies in the state carry naloxone and
                        dispense it to certified users, but many pharmacies were refusing to do so.
                        The host of the show, Steve Davis, wonders aloud whether naloxone enabled
                        addicts, by reducing the threat of fatally overdosing, and he concedes that he's

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                        sympathetic to pharmacists who don't want to carry it for fear of being blamed
                        later.
                        Masih, who's wearing jeans and a white button-down, counters that the
                        resistance by pharmacists is another example of stigmatizing addicts. "Some
                        have an attitude, 'These people did this to themselves. Just let them die. Why
                        do we want to bring them back from an overdose?' " he says. The same
                        pharmacies, he points out, have no qualms about carrying highly addictive
                        painkillers such as oxycodone. Says Masih, "We need a change of community
                        mindset."




                       Masih in his office at the Russ Hedrick Substance Abuse Resource Center in
                       Petersburg W Va. Photograph by Matt Eich for Fortune
                       Masih didn't know what to expect when he moved his family from Texas to
                       this comer of West Virginia in 2000. He relocated there to run the emergency
                       room in a local hospital, a small brick building that shares a hill with a Civil
                                                      16




CONFIDENTIAL                                                                                         HDA MDL 000014976
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                                       War memorial site. The son of an Indian surgeon and a British homemaker,
                                       Masih stuck out in Petersburg, a town of 2,500. He had a taste for flashy cars-
                                       his fleet included a Porsche, a Hummer, and a Mustang convertible-and thrill-
                                       seeking hobbies like IndyCar racing and hunting with an AK-47.
                                       But even ifhe was something apart, Petersburg suited Masih. He convinced his
                                       brother Ravi to move there as well. He coached youth soccer. He earned a
                                       reputation as a good and caring doctor

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                                      In 2007, the Masih brothers opened an urgent care clinic atop a tanning salon in
                                      neighboring Moorefield. It was strategically close to the area's major
                                      employers-a Pilgrim's Pride turkey plant, an American Woodmark factory-
                                      and it was outfitted with all the trappings of an ER, from surgical suction
                                      pumps to a trauma bay. There was even a helipad out back
                                      There was just one problem with this American dream. Masih was addicted to
                                      hydrocodone, the powerful opioid in pain medicines like Vicodin and Lortab.
                                      His addiction began in 2004, when he hurt his back in an IndyCar wreck. When
                                      he couldn't find someone to cover his ER shift the next day, he turned to the
                                      hospital's supply room and took a sample of the drug. He felt amazing on it-
                                      not only unburdened of his physical pain, but also of the fatigue and burnout he
                                      typically felt on the job. "Everything evaporated," he says.
                                      He kept taking the samples, only in higher doses and more frequently, and
                                      while he knew he was on a slippery slope, he told himself he was in control. He
                                      vowed each day that he'd quit the next. But then, inevitably, he found a reason
                                      to take the drugs again. When he did manage to "quit," he experienced the
                                      horrible and debilitating sensations of withdrawal within a few hours. He
                                      quickly ran through the hospital's samples and began writing prescriptions for
                                      his friends and family members-all of which he'd get filled himself at the
                                      area's various pharmacies.




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                        Raj Masih (in white shirt, facing the camera), a recovering opioid addict, takes
                        part in a Narcotics Anonymous meeting at the clinic be runs in Petersburg,
                        W Va. Photograph by Matt Eich for Fortune
                        His secret and the shame of it exhausted him. "I'd be driving and thinking,
                        'Where am I going to get my next script from?' I so badly wanted to be out of
                        it.,,
                        Even while trapped in this cycle of addiction, Masih continued to practice
                        medicine. Indeed, on bydrocodone, he felt at the top of his medical game,
                        energized and hypercompetent. He also became very lax in doling out powerful
                        narcotics like the painkillers that had him so booked. He'd send patients away
                        with a prescription rubber-stamped with the words FILL AT JUDY'S. "My
                        threshold for prescribing was very low," he tells me. "I prescribed recklessly I
                        did."

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                        It all caught up with him in August 2009, when a SWAT team burst into Masih
                        Medical and handcuffed him to a chair while they searched his files. He was
                        hauled to jail where in a few days' time he says he contemplated suicide, found
                        God, and resolved to get clean. By the time he pleaded guilty to one count of
                        misprescribing a controlled substance, he felt free. He was sentenced to 48
                        months in prison.
                        Masih might have been ready to start over, but the U.S. Attorney's Office in the
                        Northern District of West Virginia hadn't quite let go of his case. They thought
                        it might lead to something bigger.
                        The office, which is based in Wheeling, a sleepy and picturesque town just
                        south of the Ohio border, had for years been aggressive in going after the bad
                        actors involved in the region's opioid crisis. But it seemed to make little
                        difference. The e idemic raged on.




                        Fornier coal mine near Beckley W Va. Photograph by Matt Eich for Fortune
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                        To Alan McGonigal, an Assistant U.S. Attorney in the district's civil division,
                        the rampant abuse of prescription drugs required a more holistic strategy, one
                        that he had often used in prosecuting health care fraud: Find the gatekeepers.
                        Someone had been filling Masih's many illegitimate scripts, and some
                        company had been sending more and more drugs to rural West Virginia. "We
                        had to stop the flow," he says.
                        That strategy wasn't unique to Wheeling. The DEA had begun contemplating
                        how it regulated the broader pharmaceutical supply chain back in the mid-
                        2000s as the onlinc pharmacies flourished and the opioid epidemic took root.
                        The DEA viewed distributors-the nation's pharmaceutical fire hose-as key
                        to its efforts to stop criminal misuse of pain pills. By law, in fact. it's something
                        distributors arc required to help prevent.
                        That law is the decades-old Controlled Substances Act, which requires
                        wholesalers like McKesson to maintain a system to detect and prevent
                        "diversion," or the nonsanctioncd use of prescription drngs. Distributors arc
                        required to report any "suspicious orders"-those of unusual size, frequency, or
                        deviating from normal patterns-to the DEA.




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                        McKesson supplied pharmaceuticals to Larry's Drive-In Pharmacy in Madison,
                        W Va., which was one of the state's largest sellers of opioids between 2007 and
                        2012, according to the Charleston Gazette-Mail. Photograph by Matt Eich for
                        Fortune
                        But until 2005, these rules had never really been enforced. Distributors
                        generally didn't identify suspicious orders and the DEA didn't investigate
                        them, says Larry Cote, a former lawyer for the agency who now represents the
                        industry at the firm Brady & Quarles. Instead, wholesalers were in the habit of
                        submitting monthly "Excessive Purchase Reports'v=thick files that sometimes
                        included every order a wholesaler had processed during the period.

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                        W ith prescription drug abuse spreading, the agency attempted a reset.   In the fall
                        of 2005, the DEA' s Office of Diversion Control launched its "Distributor
                        lnitiativc," an effort to engage with wholesalers over their legal responsibilities
                        and the severity of the country's diversion problem. Then, in 2006 and 2007,
                        the DEA sent three separate letters reminding distributors of their obligations.
                        Noting that the country faced epidemic levels of prescription drug abuse, the
                        letters also contained more explicit expectations that registrants "know their
                        customers"-i.e., engage in due diligence to ensure pharmacies and dispensers
                        were aboveboard-and that they report and refrain from shipping suspicious
                        orders.
                        This new guidance was not well received by the distributors. As the industry
                        saw it, this sort of investigative work fell beyond their purview· They were in
                        the business of moving FDA-approved drugs that had been prescribed by
                        licensed physicians to DEA-registered pharmacies. Tasking them with
                        determining whether or not a particular customer or order was legitimate was,
                        in their view, asking them to meddle in medical decision-making. Plus,
                        distributors don't have full visibility of a pharmacy's orders of controlled
                        substances; they only know what they deliver
                        There were plenty of other complaints that the DEA 's guidance was unclear or
                        too vague-claims that proved to have some merit. In 2016, DEA administrator
                        Chuck Rosenberg conceded the agency had been "opaque" in dealing with the
                        wholesalers.
                        By the time Masih was in prison, the DEA had begun aggressively ramping up
                        enforcement. And by the agency's book, Masih's criminal overprescribing
                        hadn't happened in a vacuum. He'd been aided and abetted, as they saw it, by
                        the pharmaceutical supply chain. More specifically, his accomplices had been a
                        third-generation mom-and-pop outlet on Main Street in Petersburg called
                        Judy's Drug Store-as well as the pharmacy's primary supplier, McKesson.
                        That was the argument that criminal prosecutors and DEA agents made to
                        McGonigal in May 2012. McGonigal agreed to look into it.
                        The Petersburg area has a few pharmacies to choose from. But most ofMasih's
                        pain patients went to Judy's, where he also stopped some mornings to pick up
                        medical supplies. The relationship seemed suspicious to McGonigal (as did the
                        fact that Judy's had recently opened a second outlet in Moorefield close to
                        Masih' s clinic). The prosecutor was convinced that something wasn't tight
                        about the small-town pharmacy.
                        "There is nothing you don't know about what is going on in these counties if
                        you live there," says McGonigal, who's trim, mild-mannered, and occasionally


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                        reveals a dry wit. "The idea that this pharmacy didn't know what Dr. Masih
                        was about held no water with me."




                        Judy's Drug Store in Petersburg, W Va., where many of Masih's prescriptions
                        were filled. In 2014, Judy's paid $2 million to settle federal claims of improper
                        dispensing. Photograph by Matt Eich for Fortune
                        In December 2014, Judy's reached a $2 million civil settlement with the Justice
                        Department for claims of improper dispensing. The pharmacy, which did not
                        admit to any wrongdoing, also agreed to a stricter reporting arrangement, under
                        which it still operates. A lawyer for Judy's says the store's pharmacists
                        believed they were filling legitimate prescriptions, and points out that no DEA
                        enforcement action was ever taken against the pharmacists.
                        The original Judy's remains in business today, operating as it bas since 1965,
                        out of a brick building in the heart of Petersburg. (Its Moorefield location has
                        closed.) On a recent Friday afternoon when I stopped in, an elderly woman
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                            stood ready at the cash register in front of a row· of neatly hung plastic bags, all
                            filled with prescription medications ready for pickup.
                            Having dealt with Judy's, the next target for McGonigal and his team was the
                            McKesson distribution center, three hours away in Landover, Md., which
                            delivered the bulk of the pharmacy's drugs.
                            The Landover facility had separately landed on the radar of a DEA investigator
                            named Lindsey Malocu. Malocu, who worked out of the agency's Washington
                            Field Office, had noticed something strange about McKesson's suspicious-
                            order reporting in her district-there hadn't been any. Nothing about Judy's or
                            any of the other hundreds of pharmacies it serviced, even as the amount of
                            prescription opioids the company delivered to the region climbed. Zero
                            suspicious orders would be unusual for any wholesaler. But it was especially
                            true for McKesson, the country's biggest drug distributor. (Upon a more careful
                            check of its records, the DEA later found a handful of reports it had missed.)
                            The conspicuous absence of suspicious-order reports barked back to an earlier
                            investigation of McKesson. That incident had involved six districts where
                            McKesson had allegedly shipped excessive volumes of hydrocodone and other
                            controlled substances to tiny mom-and-pop customers that filled orders for
                            online pharmacies. Those suspicious orders had gone unreported by McKesson.
                            The company settled those claims with the DOJ for $13 .25 million in 2008
                            without admitting wrongdoing. But the DEA's acting administrator at the time,
                            Michele Leonhart, had offered a brutal condemnation of the company's
                            conduct: "McKesson Corporation fueled the explosive prescription drug abuse
                            problem we have in this country."

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                            The 2008 settlement agreement also dictated that McKesson develop an
                            effective system to ensure it didn't do so in the future. So that year the
                            company launched its Controlled Substance Monitoring Program (CSMP).
                            Under this three-tier system, each of McKesson's pharmacy customers were
                            assigned monthly threshold levels for their controlled substance orders. Orders
                            at the threshold would block the order and trigger a review process. If the
                            reason for reaching the threshold level was compelling, McKesson would
                            supply the drugs and in some cases raise the threshold; if not, the matter would
                            be passed to a regional compliance officer If that officer deemed it suspicious,
                            the order would be kicked up to McKesson's corporate compliance team. If
                            they also judged it suspicious, the company would then report the order to the
                            DEA.


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                       When Malocu examined the DEA 's records for the Landover DC, however, it
                       was clear to her that McKesson's compliance system bad fallen down on the
                       job. In .July 2011, she requested customer files for 20 or so suspect pharmacies
                        that bad landed on her radar That winter, McKesson apparently realized there
                       was a problem; in a short period of time, the Landover distribution center filed
                       318 suspicious orders with the DEA that covered the previous months and
                       weeks. The government considered that number to be relatively few for a
                       distribution center of that size and the untimely filing to be something like an
                       admission of guilt.
                       McGonigal and Malocu dido 't know it at the time, but across the country, there
                       was a similar investigation taking shape. This one involved McKesson's
                       Aurora, Colo., distribution center, one of the facilities that had also been at the
                       center of the company's 2008 settlement. The Colorado facility had drawn the
                       attention of prosecutors again in March 2012, when it alerted the DEA to a
                       handful of suspicious orders related to one pharmacy-the only suspicious
                       orders the facility bad reported since 2009.
                       Both the Landover and Aurora facilities had shipped lots of controlled
                       substances. either had done much to determine whether the orders were
                       "suspicious," according to the government, or to call the DEA's attention to
                       them when they were.
                       The compliance files were especially revealing. They showed the company's
                       casual approach to administering its compliance program. When pharmacies bit
                       thresholds, they typically breezed through the review process. Customers
                       offered vague, flimsy reasons for needing more oxycodone supply-"increase
                       in foot traffic"; "more busioess"-and thev'd get it.




                          ~-------------------~.Photo: Matt Eich
                          for Fortune
                       For McGonigal, the matter was simple. "They didn't care enough about the
                       issue," he says. 'Tm sure there was no malevolent desire to flood the street
                       with narcotics. There was just too much emphasis on sales numbers and not
                       enough with keeping an eye on suspicious ordering."
                       McKesson calls those unfounded allegations and says the company complies
                       with laws and regulations. Furthermore, a spokesman says that "at no point has
                       there ever been a direct con-elation between the sale of controlled substances
                       and incentive compensation for McKesson sales personnel."


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                       The investigations of McKesson were multiplying. By the summer of 2014,
                       prosecutors in 12 districts around the country were looking into possible
                       violations of the Controlled Substances Act at McKesson distribution centers.
                       According to McGonigal, the government's conservative estimate is that over a
                       roughly four-year period McKesson had failed to report tens of thousands of
                       suspicious orders in those districts. The question was bow big the penalty
                       should be. Prosecutors thought a large penalty was needed to send a message,
                       and the $150 million figure accomplished that. "Recidivism was a real
                       problem," says McGonigal. "Not only with them but with others. lf they're not
                       going to learn from a $13 million settlement, they have to learn from
                       something, right? Dollars and suspensions and heightened compliance
                       arrangements arc the only way it's going to get done."
                       In the aftermath, McKesson bas once again overhauled its monitoring
                       programs. And by all accounts the company is redoubling its efforts on
                       compliance.
                       Leading the effort has been Gary Boggs, who spent four decades as a DEA
                       agent before joining McKesson in 2013 as the senior director of regulatory
                       affairs, in the midst of the government's investigations into McKesson. There
                       are now some 40 individuals dedicated to McKesson's controlled substance
                       monitoring program, and many of them, like Boggs, came from an enforcement
                       background.
                       The company has made significant investments in technology, such as more
                       sophisticated analytics systems to identify suspicious orders. Under Boggs'
                       leadership, it bas started doing deeper, more rigorous due diligence=-a change
                       that can be traced through a trail of lawsuits involving McKesson customers
                       who suddenly had their controlled substances cut off in 2013 and 2014.
                       The settlement process has had a way of bringing McKesson and the DEA
                       together Both sides say they're working together productively now. (DEA
                       Diversion Control has also made a concerted effort to engage far more with the
                       industry in the past few years.)
                       In 2015, Hannnergren decided that it was time for McKesson to wade into
                       broader policy conversations about the opioid epidemic. While some may see
                       McKesson as part of the problem, Hammergren believes that his company,
                       given its position in the health care system, might have insights to help with the
                       solution. So last year he formed a task force of several dozen employees, and
                       developed a white paper that McKesson is now circulating in Washington. The
                       document offers six recommendations. Among them the development of a
                       National Patient Safety System, a data-driven, real-time tool to help
                       pharmacists and physicians to identify patients most at risk of misusing
                       medications.
                       Odd as it may seem, Masih thrived in prison. At the medium-high security
                       facility in Glenville, W Va., he quickly became known as "Doc," and his fellow
                       inmates regaled him with stories of how they'd once scammed physicians into
                       prescribing them oxycodone and other narcotics. Masib was blown away by the
                       variety and ingenuity of their methods, and he obtained permission from the
                       Federal Bureau of Prisons to write a textbook on how drug diversion happens.
                       (His son, who sent him research, and bis cell mate, a onetime heroin dealer,
                       both earned author credits.) By the time Masih was released in 2014-early, for
                       good behavior-the team had written a second manual on how prisoners abuse
                       drugs in prison.

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                                When he's not doing his addiction work, Masih devotes time to a company he
                                started with his friend Wade Rohrbaugh to develop a product he calls "Raptor."
                                The system, which involves biometrics, electronic health records, and video-
                                recording eyeglasses, is designed to help physicians prevent prescription drug
                                diversion. Right now he's shopping Raptor to medical boards.
                                Masih thanks his brush with the law for saving bis life-in more ways than one.
                                Not only did he kick opioids, but he was also able to manage a personal health
                                crisis that might have killed him if he'd been using. Last year, Masih learned be
                                bad a life-threatening aneurysm. (His father had suffered a rnpturcd aneurysm
                                and was disabled for the rest of his life.) Masih's primary symptom was terrible
                                headaches, which he says he never felt when he was on pain meds. In July
                                2015, be was one of the first patients to undergo a radical, not-yct-FDA-
                                approved, minimally invasive surgical procedure at the West Virginia
                                University hospital with a device called a WEB Aneurysm Embolization
                                System.
                                Healthy and sober, Masih says he's "thrilled and grateful to be given a second
                                chance to work in this field helping many people suffering from the disease of
                                addiction."
                                Back in McDowell County, Sheriff West is waiting for some good news. Since
                                the county filed suit against the distributors, a number of counties and towns in
                                West Virginia-and a few entities beyond, such as the Cherokee Nation, in
                                Oklahoma-have followed with their own lawsuits. The big three are fighting
                                those, too, and dispute the merits of the claims.
                                Questions are also being asked about the practices of McKesson and its peers
                                by Congress, where the dire public health crisis is increasingly top of mind. In
                                May, the House Energy and Commerce Committee launched an investigation
                                into the wholesaler industry's "pill dumping" practices in West Virginia. The
                                big three each received letters of inquiry, which they were required to answer
                                by June 8.
                                West isn't sure the lawsuits will accomplish much, but at least he tried
                                something to counter the opioid scourge. "I'm hoping and praying we can
                                alleviate some of the suffering, not only in West Virginia, but everywhere
                                across the nation just about now," he says. "It's a major epidemic, and it's got
                                to be treated that way"
                                A version of this article appears in the June 15, 2017 issue ofFortune.


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